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                                  IN THE UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF HAW All

                                                                   )   Case. No. CV 23-00565 JAO-BMK
   COUNTY OF MAUI
                                                                   )
                                                                   )   ORDER GRANTING MOTION TO
                     Plaintiff,                                    )   APPEAR PRO HAC VICE AS TO
                                                                   )    Robert J. Chambers II
                                  VS.                              )
                                                                   )
   MAUI ELECTRIC COMPANY, LIMITED et al.,
                                                                   )
                                                                   )
                     Defendant.                                    )
                                                                   )

                                             ORDER GRANTING MOTION
                                             TO APPEAR PRO HAC VICE

           The Court GRANTS the Motion of Robert J. Chambers 11                                         to
    Appear Pro Hae Vice.

     Name of Attorney:                Robert J. Chambers II
     Firm Name:                       Diab Chambers LLP
     Firm Address:                    10089 Willow Creek Rd., Suite 200, San Diego, CA 9213 I


     Attorney CM/ECF
     Primary email address: rob@dcfirm.com

     Firm Telephone:                  619.658 .70 10
     Party Represented                Plaintiff, COUNTY Of MAUI




           IT IS SO ORDERED.
           DATED: Honolulu, Hawaii, - December
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                                                                                     Magistrate Judge
                                                                       United States Magistrnte
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